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1    Richard F. Holley, Esq. (NV Bar No. 3077)
     Email: rholley@nevadafirm.com
2    Andrea M. Gandara, Esq. (NV Bar No. 12580)
     Email: agandara@nevadafirm.com
3    HOLLEY DRIGGS
     400 South Fourth Street, Third Floor
4    Las Vegas, Nevada 89101
     Telephone: 702/791-0308
5    Facsimile: 702/791-1912

6    Attorneys for Alina Hua; Chin Lin Hua; and Christine Waage

7
                                  UNITED STATES BANKRUPTCY COURT
8
                                            DISTRICT OF NEVADA
9
     IN RE:                                              Case No. 21-50046-btb
10                                                       Chapter 11
     CENTURIA FOODS, INC.,
11                                                       EX PARTE APPLICATION FOR 2004
                                                         EXAMINATION OF DEBTOR
12                      Debtor.                          CENTURIA FOODS, INC.

13
                                                         Judge: Hon. Bruce T. Beesley
14

15             Pursuant to FRBP 2004 and LR 2004, Secured Creditors Alina Hua (“A. Hua”), Chin Lin
16   Hua (“C. Hua”), and Christine Waage (“C. Waage” and collectively with A. Hua and C. Hua, the
17   “Secured Creditors”), by and through counsel, Richard F. Holley, Esq. and Andrea M. Gandara,
18   Esq. of the law firm Holley Driggs, apply for an order directing Debtor Centuria Foods, Inc. (the
19   “Debtor”) to appear for examination regarding Debtor’s acts, conduct, property or the liabilities
20   and financial condition, or any other matters which may affect the administration of the Debtor’s
21   estate.
22             This Ex Parte Application for 2004 Examination of the Debtor (the “Application”) is made
23   and based upon the following Memorandum of Points and Authorities, the Declaration of Andrea
24   M. Gandara, Esq. in support of the Application (the “Gandara Declaration”), filed separately and
25   concurrently herewith as required under LR 9014(c)(2), and the pleadings and papers on file
26   herein.
27   ///
28   ///

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1             A copy of the proposed Order granting the Application is attached hereto as Exhibit 1.

2             Dated this 31st day of March, 2021.
                                                      HOLLEY DRIGGS
3

4                                                     /s/Andrea M. Gandara
                                                      Richard F. Holley, Esq. (NV Bar No. 3077)
5                                                     Andrea M. Gandara, Esq. (NV Bar No. 12580)
                                                      400 South Fourth Street, Third Floor
6                                                     Las Vegas, Nevada 89101
7                                                     Attorneys for Alina Hua, Chin Lin Hua, and
                                                      Christine Waage
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1                            MEMORANDUM OF POINTS AND AUTHORITIES

2                                              I.    BACKGROUND

3             1.        On January 20, 2021, Debtor filed a Chapter 11 Voluntary Petition [ECF No. 1].

4             2.        Secured Creditors timely filed their Proofs of Claims in the amount of $601,695.75

5    for C. Waage, $330,945.75 for A. Hua on March 5, 2021, and $421,195.75 for C. Hua on March

6    8, 2021 (collectively, the “Proofs of Claim”). See Claims 3-1, 4-1, and 5-1 respectively.

7             3.        Through this Application, Secured Creditors seek to examine Debtor regarding its

8    acts, conduct, or property or to the liabilities and financial condition, matters which may affect the

9    administration of the Debtor’s estate, the Debtor’s right to a discharge, the operation of business
10   and the desirability of its continuance, the source of any money or property acquired or to be

11   acquired by the Debtor for purposes of consummating a plan and the consideration given or offered

12   therefor, and other matters relevant to the case or to the formulation of a Chapter 11 plan. See

13   Gandara Declaration at ¶ 4.

14            4.        Secured Creditors will confer with the Debtor regarding the time, place, and date

15   for examination pursuant to FRBP 2004. If no such agreement is reached, Secured Creditors will

16   schedule the examination on no less than fourteen (14) days’ notice from the date of filing this

17   Application. See Gandara Declaration at ¶ 5.

18                                       II.        LEGAL AUTHORITY

19   A.       Secured Creditors Are Entitled Examine the Debtor Pursuant to FRBP 2004.

20            Rule 2004 of the Federal Rules of Bankruptcy Procedure provides, “[o]n motion of any

21   party in interest, the court may order the examination of any entity. FED. R. BANKR. P. 2004(a).
     Regarding the scope of examination, the rule further provides in relevant part:
22
                        The examination of an entity under this rule or of the debtor under
23                      § 343 of the Code may relate only to the acts, conduct, or property
                        or to the liabilities and financial condition of the debtor, or to
24                      any matter which may affect the administration of the debtor’s
                        estate, or to the debtor’s right to a discharge. In a family farmer’s
25                      debt adjustment case under chapter 12, an individual’s debt
                        adjustment case under chapter 13, or a reorganization case under
26                      chapter 11 of the Code, other than for the reorganization of a
                        railroad, the examination may also relate to the operation of any
27                      business and the desirability of its continuance, the source of any
                        money or property acquired or to be acquired by the debtor for
28                      purposes of consummating a plan and the consideration given

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1                       or offered therefor, and any other matter relevant to the case or
                        to the formulation of a plan.
2

3    FED. R. BANKR. P. 2004(b) (emphasis added).

4             Additionally, LR 2004(b) allows for the Clerk of the Court’s issuance of an Order for 2004

5    examination if the date set for examination is more than fourteen (14) days from the date the

6    motion is filed.

7             The requested discovery from Debtor is within the scope of examination permitted under

8    FRBP 2004 as it relates to the Debtor’s acts, conduct, or property or to the liabilities and financial

9    condition, matters which may affect the administration of the Debtor’s estate, the Debtor’s right
10   to a discharge, the operation of business and the desirability of its continuance, the source of any

11   money or property acquired or to be acquired by the Debtor for purposes of consummating a plan

12   and the consideration given or offered therefor, and other matters relevant to the case or to the

13   formulation of a Chapter 11 plan.

14            Further, this Application is being filed more than fourteen (14) prior to the date set for the

15   examination. Accordingly, the Clerk is authorized to issue an Order granting this Application.

16                                           III.   CONCLUSION

17            Secured Creditors respectfully request that the Court order the Debtor to appear for

18   examination pursuant to FRBP 2004 at a time, place, and date to be mutually agreed upon by the

19   parties. If no such agreement is reached, Secured Creditors will schedule the examination on no

20   less than fourteen (14) days’ notice.

21            Dated this 31st day of March, 2021.
                                                         HOLLEY DRIGGS
22

23                                                       /s/Andrea M. Gandara
                                                         Richard F. Holley, Esq. (NV Bar No. 3077)
24                                                       Andrea M. Gandara, Esq. (NV Bar No. 12580)
                                                         400 South Fourth Street, Third Floor
25                                                       Las Vegas, Nevada 89101
26                                                       Attorneys for Alina Hua, Chin Lin Hua, and
                                                         Christine Waage
27

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1                                      CERTIFICATE OF SERVICE

2              I hereby certify that I am an employee of Holley Driggs, and that on the 31st day of March,

3    2021, I caused to be served a true and correct copy EX PARTE APPLICATION FOR 2004

4    EXAMINATION OF DEBTOR CENTURIA FOODS, INC. in the following manner:

5                       (ELECTRONIC SERVICE Under Local Rule 5005 of the United States

6    Bankruptcy Court for the District of Nevada, the above-referenced document was electronically

7    filed on the date hereof and served through the Notice of Electronic Filing automatically generated

8    by that Court’s facilities.

9                       (UNITED STATES MAIL)          By depositing a copy of the above-referenced
10   document for mailing in the United States Mail, first class postage prepaid, at Las Vegas, Nevada,

11   to the parties listed on the attached service list, at their last known mailing addresses, on the date

12   above written.

13                      (OVERNIGHT COURIER) By depositing a true and correct copy of the above-

14   referenced document for overnight delivery via Federal Express, at a collection facility maintained

15   for such purpose, addressed to the parties on the attached service list, at their last known delivery

16   address, on the date above written.

17                      (FACSIMILE) That I served a true and correct copy of the above-referenced

18   document via facsimile, to the facsimile numbers indicated, to those persons listed on the attached

19   service list, on the date above written.

20
                                                            /s/Madeline VanHeuvelen
21                                                          An employee of Holley Driggs

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             EXHIBIT 1
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7    Richard F. Holley, Esq. (NV Bar No. 3077)
     Email: rholley@nevadafirm.com
8    Andrea M. Gandara, Esq. (NV Bar No. 12580)
     Email: agandara@nevadafirm.com
9    HOLLEY DRIGGS
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     Telephone: 702/791-0308
11   Facsimile: 702/791-1912

12   Attorneys for Alina Hua; Chin Lin Hua; and Christine Waage

13
                                  UNITED STATES BANKRUPTCY COURT
14
                                            DISTRICT OF NEVADA
15
     IN RE:                                              Case No. 21-50046-btb
16                                                       CHAPTER 11
     CENTURIA FOODS, INC.,
17                                                       ORDER GRANTING EX PARTE
                                                         APPLICATION FOR 2004
18                      Debtor.                          EXAMINATION OF DEBTOR
                                                         CENTURIA FOODS, INC.
19

20                                                       Judge: Hon. Bruce T. Beesley

21

22            Upon review of the Ex Parte Application for 2004 Examination of the Debtor (the
23   “Application”) filed by Secured Creditors Alina Hua, Chin Lin Hua, and Christine Waage
24   (collectively, the “Secured Creditors”) and good cause appearing therefore,
25            IT IS HEREBY ORDERED that Application is approved; and
26            IT IS FURTHER ORDERED that Debtor Centuria Foods, Inc. shall appear for appear
27   for examination under oath before a certified court reporter pursuant to FRBP 2004, as set forth in
28   subpoena to be issued pursuant to FRBP 9016, at the time, place, and date to be mutually agreed

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1    upon by the parties or, if no such agreement is reached, on no less than fourteen (14) calendar

2    days’ written notice, as to any matter permitted by FRBP 2004, including but not limited to the

3    matters specifically enumerated in the Application.

4             IT IS SO ORDERED.

5    HOLLEY DRIGGS

6
     /s/ Andrea M. Gandara
7    Richard F. Holley, Esq. (NBN 3077)
     Andrea M. Gandara, Esq. (NBN 12580)
8    400 South Fourth Street, Third Floor
     Las Vegas, Nevada 89101
9    Attorneys for Alina Hua; Chin Lin Hua; and Christine Waage
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